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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

   UNITED STATES OF AMERICA,

          Plaintiff,

   vs.                                                    Case No. 04-80857-02
                                                          Honorable Lawrence P. Zatkoff

   CORNELL SMITH,

          Defendant.
                                          /


                                              ORDER

                                At a session of said Court held in the
                           United States District Court, Federal Building,
                           in the City of Port Huron, County of St. Clair,
                              State of Michigan on December 27, 2011

                  PRESENT: HONORABLE LAWRENCE P. ZATKOFF
                            United States District Court Judge


          On September 27, 2011, the Sixth Circuit granted Defendant’s appeal of this

   Court’s denial of his motion for reduction in sentence pursuant to 18 U.S.C. §3582(c)(2)

   and remanded the case to this Court in order “consider whether [Defendant] is entitled to

   a sentence reduction under the circumstances in light of the Section 3553(a) factors.”

   The Sixth Circuit recently issued the mandate in this matter.

          Before the Court makes the determination dictated by the Sixth Circuit, however,

   the Court has determined that it is necessary and appropriate for the parties to brief the

   following two issues:
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          1.     Does Defendant have the right to be present and allocute before
                 the Court imposes sentence on Defendant where the Court is
                 deciding Defendant’s motion to reduce sentence pursuant to
                 Section 3582(c)(2) following remand by the Sixth Circuit?

          2.     According to the Sixth Circuit, the appropriate advisory Guideline
                 range in this case is now 135 to 168 months, not 168 to 210
                 months (as the parties and Probation unanimously agreed when
                 this Court first considered Defendant’s 3582(c)(2) motion). On the
                 basis of the Sixth Circuit’s conclusion, explain: (a) why Defendant
                 is (or is not) entitled to a sentence reduction under the
                 circumstances of this case, and (b) the duration of the sentence you
                 believe the Court should impose at this time.

   The Court hereby ORDERS the parties to file with the Court written responses to the

   foregoing issues. The parties’ responses are due on or before January 20, 2012.

          IT IS SO ORDERED.


                                               S/Lawrence P. Zatkoff

                                               LAWRENCE P. ZATKOFF
                                               UNITED STATES DISTRICT JUDGE

   Dated: December 27, 2011

                                CERTIFICATE OF SERVICE

           The undersigned certifies that a copy of this Order was served upon the attorneys
   of record by electronic or U.S. mail on December 27, 2011.


                                               S/Marie E. Verlinde

                                               Case Manager
                                               (810) 984-3290
